Case 2:01-cv-07009-RSWL-RZ   Document 960   Filed 12/23/02   Page 1 of 61 Page ID
                                   #:316
Case 2:01-cv-07009-RSWL-RZ   Document 960   Filed 12/23/02   Page 2 of 61 Page ID
                                   #:317
Case 2:01-cv-07009-RSWL-RZ   Document 960   Filed 12/23/02   Page 3 of 61 Page ID
                                   #:318
Case 2:01-cv-07009-RSWL-RZ   Document 960   Filed 12/23/02   Page 4 of 61 Page ID
                                   #:319
Case 2:01-cv-07009-RSWL-RZ   Document 960   Filed 12/23/02   Page 5 of 61 Page ID
                                   #:320
Case 2:01-cv-07009-RSWL-RZ   Document 960   Filed 12/23/02   Page 6 of 61 Page ID
                                   #:321
Case 2:01-cv-07009-RSWL-RZ   Document 960   Filed 12/23/02   Page 7 of 61 Page ID
                                   #:322
Case 2:01-cv-07009-RSWL-RZ   Document 960   Filed 12/23/02   Page 8 of 61 Page ID
                                   #:323
Case 2:01-cv-07009-RSWL-RZ   Document 960   Filed 12/23/02   Page 9 of 61 Page ID
                                   #:324
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 10 of 61 Page
                                  ID #:325
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 11 of 61 Page
                                  ID #:326
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 12 of 61 Page
                                  ID #:327
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 13 of 61 Page
                                  ID #:328
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 14 of 61 Page
                                  ID #:329
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 15 of 61 Page
                                  ID #:330
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 16 of 61 Page
                                  ID #:331
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 17 of 61 Page
                                  ID #:332
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 18 of 61 Page
                                  ID #:333
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 19 of 61 Page
                                  ID #:334
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 20 of 61 Page
                                  ID #:335
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 21 of 61 Page
                                  ID #:336
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 22 of 61 Page
                                  ID #:337
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 23 of 61 Page
                                  ID #:338
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 24 of 61 Page
                                  ID #:339
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 25 of 61 Page
                                  ID #:340
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 26 of 61 Page
                                  ID #:341
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 27 of 61 Page
                                  ID #:342
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 28 of 61 Page
                                  ID #:343
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 29 of 61 Page
                                  ID #:344
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 30 of 61 Page
                                  ID #:345
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 31 of 61 Page
                                  ID #:346
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 32 of 61 Page
                                  ID #:347
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 33 of 61 Page
                                  ID #:348
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 34 of 61 Page
                                  ID #:349
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 35 of 61 Page
                                  ID #:350
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 36 of 61 Page
                                  ID #:351
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 37 of 61 Page
                                  ID #:352
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 38 of 61 Page
                                  ID #:353
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 39 of 61 Page
                                  ID #:354
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 40 of 61 Page
                                  ID #:355
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 41 of 61 Page
                                  ID #:356
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 42 of 61 Page
                                  ID #:357
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 43 of 61 Page
                                  ID #:358
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 44 of 61 Page
                                  ID #:359
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 45 of 61 Page
                                  ID #:360
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 46 of 61 Page
                                  ID #:361
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 47 of 61 Page
                                  ID #:362
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 48 of 61 Page
                                  ID #:363
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 49 of 61 Page
                                  ID #:364
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 50 of 61 Page
                                  ID #:365
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 51 of 61 Page
                                  ID #:366
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 52 of 61 Page
                                  ID #:367
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 53 of 61 Page
                                  ID #:368
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 54 of 61 Page
                                  ID #:369
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 55 of 61 Page
                                  ID #:370
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 56 of 61 Page
                                  ID #:371
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 57 of 61 Page
                                  ID #:372
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 58 of 61 Page
                                  ID #:373
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 59 of 61 Page
                                  ID #:374
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 60 of 61 Page
                                  ID #:375
Case 2:01-cv-07009-RSWL-RZ   Document 960    Filed 12/23/02   Page 61 of 61 Page
                                  ID #:376
